— Case 3:07-cr-00015-KI Document6 Fited 01/19/07 Page iofi1

UNITED STATES DISTRICT COURT
DISTRICT OF OREGON

CRIMINAL MINUTES

CaseNo.: Cit O+-15 (\) - K| Date of Proceeding: i d/ ot

Presiding Judge: Paul Papak Courtroom Deputy: Gary Magnuson
Reporter: Tape No: _FTR AUSA: KATHLEEN Ly MER S

(for: )

DOCKET ENTRY: (Interpreter: a _)
Record of: [ |time set rit Appearance [ JInitial Appearance Kytaignment 9 ention Hearing
[ ]Preliminary / [ ]Pretrial / ipervised Release / [ ] Probation Vi n { JRule 5/Proteedings [ }Status Hearing:
DER - appointing Federal Defender/CJA Attorney to represent defendant(s).
[ ]Defendant(s) advised of cargos pyendants) waived reading of the indictment/information/complaint.
Hbetendants advised of rights /{Défendant(s) waived advice of rights.
{ ]Defendant(s) waived [ Jpreliminary [ Jidentity [ Jremoval hearing.
Seatendans) proceeds as named in the complaint/indictment/information.
[]ORDER - (re)setting the [ ]First Appearance [ ]Release Violation / { ]Rule 5/[ ]Preliminary /[ ]Detention /[] Status
Hearing before the duty Magistrate Judge on at mM.
[ ]Gov't witness(es) sworn:
[ ]Defense witness(es) sworn:
{[ JORDER - finding probable cause. :
[JORDER - (re)setting arraignment on: at .m. before the duty magistrate.
[ JORDER - defendant is detained: [ flight [ ]Jdanger [ ]violation of release conditions [ ]pending further hearing.
RDER - defendant is released on conditions. (see separate order)
DER - defendant's plea(s) of not-guilty is entered. ;
RDER - (re)setting trial before Judge Wy ING on 3/, a 2 - at 9:00 a.m.
Please use the above case number and initials on all future documents and correspondence | in this action.
DER - discovery to be provided within 10 days, motions due in 21 days.

[JORDER - setting a violation hearing before Judge on at
[]JORDER - setting a further appearance before on at
[ JORDER -

[]-

(OTD: 3/26 / D>} - Gov't case: 3. days)
DEFENDANT COUNSEL

ay VICKY Y/LtALogos a) 7-0. ESTEE
iment []OR [ spon pn AiPresent ALpppointed [ ] Retained

(2) (2)

[ ] Present []O/R [ ] Bond [ ] Custody [ ] Present [ ] Appointed [ ] Retained
(3) (3)

[ ] Present [ ]O/R [ ]Bond [ ] Custody [ ] Present [ ] Appointed [ ] Retained
(4) (4)

[ ] Present [ ]O/R [ ]Bond [ ] Custody [ ] Present [ ] Appointed [ ] Retained
cc: PRpambers [ ] Probation

[] Gounsel of Record [] Pretrial Services Document No.:

[] Jury Clerk [] US Marshals

Criminal Minutes
Revised December 15, 2003
